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                        IN THE UNITED STATES DISTRICT COURT FOR THE                        JAM 1 ■ ●'13
                                 EASTERN DISTRICT OF VIRGINIA

                                                                                      CLcKK, U.S. DISTRICT COURT
                                       Newport News Division                                 MGRFOLK, VA


  UNITED STATES OF AMERICA

                   V.                                    Case No.            mj ^
  FRANCISCO ESPARZA RAMIREZ
   a/k/a: "ARMANDO PIZZANO."



                        Defendant.


  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

         I, Christopher J, Cruz, being duly sworn, depose and state:

                 I am a Deportation Officer with the United States Immigration and Customs

  Enforcement (ICE) in Norfolk, Virginia. I have been employed with ICE for more than seven

  years. I was previously employed as a Police Officer with the Federal Emergency Management

  Agency (FEMA) beginning in April 2014.           1 have received specialized training and have

  conducted nuinerous investigations relating to administrative and criminal violations of the

  Immigration and Nationality Act and Title 8 of the United States Code.

         2.      My duties as a Deportation Officer with ICE include investigating administrative

  and criminal violations of the Immigration and Nationality Act and Title 8 of the United States

  Code and seeking, when applicable, prosecution and removal of violators.          I have received


  training in general law enforcement, including training in Title 8 of the United States Code.

         j.      This affidavit is submitted in support of a criminal complaint and arrest warrant

  for FRANCISO ESPARZA RAMIREZ (hereafter referred to as ESPARZA RAMIREZ), an alien

  who was found in the United States after being denied admission, excluded, deported, or

  removed, or having departed the United States while an order of exclusion, deportation, or
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  removal was outstanding, subsequent to a conviction for commission of an aggravated felony, in

  violation of Title 8, United States Code, Section 1326(a) and (b)(2).

         4.      The facts and information contained in this affidavit are based upon my training


  and experience, personal knowledge, and observations during this investigation, as well as the

  observations of other agents involved in this investigation. This affidavit contains information

  necessary to support probable cause, but it is not intended to include every fact and matter

  observed by me or known to the United States.

                  SUMMARY OF FACTS TO SUPPORT PROBABLE CAUSE

         5.      On or about October 15, 2023, ICE learned that the James City County Police

  Department within Williamsburg, Virginia, which is in the Eastern District of Virginia, arrested

  and charged ESPARZA RAMIREZ with assault on a law enforcement officer and destruction of

  property.

         6.      Your affiant performed records checks which confirmed that ESPARZA

  RAMIREZ is a native and citizen of Mexico who was removed from the United States on or


  about March 16, 2017, at or near Alexandria, Louisiana. ESPARZA RAMIREZ did not have

  legal authorization to reenter or remain in the United States.

         7.      Your affiant also reviewed ESPARZA RAMIREZ's immigration file maintained

  by U.S. Citizenship and Immigration Services. The file, also known as an alien file, revealed

  that ESPARZA RAMIREZ is a citizen and national of Mexico.              The file contained an executed


  Immigration Service Form 1-205, Warrant of Removal/Deportation, bearing ESPARZA

  RAMIREZ'S photograph, fingerprint, and signature.              This   form showed that    ESPARZA


  RAMIREZ was removed from            the   United   States on   March    16. 2017, from Alexandria,

  Louisiana.




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                  On August 23, 2024, your affiant interviewed ESPARZA RAMIREZ at the

  Virginia Peninsula Regional Jail within Williamsburg, Virginia.      During this interview your
  affiant confirmed ESPARZA RAMIREZ identity by utilizing his fingerprints on a handheld

  biometric scanner EDDIE that is a direct link to law enforcement information systems and ICE

  databases.


          9.      ESPARZA RAMIREZ’S alien file lacks evidence of any immigration benefit,

  document, or status that would allow him to legally enter, be admitted, pass through, or reside in

  the   United States.   Further, ESPARZA RAMIREZ has not obtained permission from the

  Attorney General or the Secretary of the Department of Homeland Security to reenter the United

  States following his formal removal.

           10.    ESPARZA RAMIREZ’S records contain documents which show that ESPARZA


  RAMIREZ was convicted of an aggravated felony offense specifically, felony assault and battery

  on a law enforcement officer on October 10, 2024, in the Circuit Court of James City County in

  Williamsburg, Virginia in violation of Virginia Code Section 18.2-57, for which ESPARZA

  RAMIREZ was sentenced to a term of imprisonment of five (5) years.

                                           CONCLUSION


           11.    Based on the foregoing, your affiant submits that there is probable cause to

  believe that on or about October 15, 2023, in James City County, Virginia, within the Eastern

  District of Virginia, FRANCISCO ESPARZA RAMIREZ an alien who was removed from the

  United States on or about March 16, 2017. at or near Alexandria, Louisiana, was found in the

  United States without having obtained the express consent of the Attorney General or the

  Secretary of the Department of Homeland Security to reapply for admission to the United States.




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  FURTHER AFFIANT SAYETH NOT.




  Christopher J.
  Deportation Officer
  U.S. Immigration and Customs Enforcement



  This affidavit has been reviewed for legal sufficiency by Assistant United States Attorney Devon
  E.A. Heath.


  Reviewed:
                 DeVt5n E.A. Heath
                 Assistant United States Attorney




  Subscribed and sworn before me this 13'*’ day of January 2024, in the City of Norfolk, Virginia.



  The Honorable Robert J. Krask
  United Stats Magistrate Judge




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